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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD; BUZZFEED, INC.,

               Plaintiffs,

   v.
                                                      Case No. 1:21-cv-00465-BAH
YOGANANDA D. PITTMAN, in her official
capacity as Acting Chief, U.S. Capitol Police;
MICHAEL BOLTON, in his official capacity as
Inspector General of the U.S. Capitol Police,

               Defendants.


                                     [PROPOSED] ORDER

        Upon consideration of the parties’ Joint Meet and Confer Report and the summary

judgment briefing schedule proposed in that Report, it is hereby

        ORDERED that the following schedule shall govern further proceedings in this case:

        •   September 16, 2021: Defendants file motion for summary judgment.

        •   October 14, 2021: Plaintiffs respond to Defendants’ motion and file any cross-motion

            for summary judgment.

        •   November 14, 2021: Defendants respond to Plaintiffs’ motion and file reply in support

            of Defendants’ motion.

        •   December 6, 2021: Plaintiffs file reply in support of Plaintiffs’ motion.



        IT IS SO ORDERED.



Dated: June __, 2021                                          ____________________________
                                                              Beryl A. Howell
                                                              United States District Judge

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